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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

 

United States of America

Appellee

Vs Case No. 17-cr-581

Klint Kelley Judge Ronald Guzman

 _ _  _

Appellant

 

MOTION FOR EXTRAORDINARY AND COMPELLTNG

COMES NOW, Klint Kelley by filing in Pro se, respectfully
moves this court,under 18 U.S.C. 3583(c)(1) (Ad in wake of the First
Step Act, relief to release Mr. Kelley from his confinement at
USP Atlanta from*the due cause that Kelley has contracted the
COVID-19 on twodifferent occasions from his weakened immune system
and also that his chronic underlying medical conditions that render
him the most vulnerable to contract the COVID-19 again which is
further described infra and Mr, Kelley fears of contracting this
virus from his confinement area in such close quarters that the
transmission of this contagious disease, showing that conditions
of confinement create an ideal environment for contracting the
virus. EXHIBIT 7

There is today of (3) three new hybrid coronavirus that has
caused and another "Nationwide public health emergency that there
is no vaccine that guards against the new virus. The CDC has spoken

on these hybrids causing death for the individuals that have gontracted

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the virus. South Bay United Pentecostal Church Vs, Newsom 140
S. Ct 1613(2020) (Roberts, CJ, concurring) According to the CDC
[t[he best way to prevent this illness is to avoid being exposed
to the virus.

Mr, Kelley seeks relief directly from’ this court after exausting
his administrative remedies. His correspondence resulting a denial
administrative appeal for compassionate release are attached to
his motion’ as EXHIBIT TWO

Mr, Kelley respectfully makes this request that this court
modify his imprisonmeht to time served with or without the special
conditions that balance on his probation (supervised release)

Mr, Kelley has provided this court his safety plan, release plan
showing that Mr Kelley would be living in his home located at

6705 U.S. 270 Malvern Arakansas 72104 and further states*that

he intends to live with the mother (Ashley Bates) of _their first
child Kyndall Kelley (2 years old), she will arrange for his transpora-
tion, further will provide an environment that substantially reduce
any risk of recidiviS™pbeyond that which has been stated. Mr. Kelley
respectfully request that this court grant his motion and submits

his memorandum in support. SEE: EXHIBIT ONE

Mr, Kelley has suffered through two differnt occasions
from the COVID-19 and his medical records surport' and have confirmed.

https: llwww.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
medical-conditions. html

Mr, Kelley's physical ailiments that constitues an extra- meaty
ordinary and compelling reasons for a sentence for time served
under 18 U.S.C. 3582(c)(1)(A) [.] Accordingly, on December 21, 2018

the first Step Act was signed into Law and among the criminal

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justice reforms Congress amended 18 U.S.C.(c)(1)(A) to provide

the sentencing court jurisdiction to consider a defendants motion

for a réduction of his sentence under the subsection when a defendant
has exhausted all administraive remedies seeking relief release

through the BOP.

FACTUAL BACKGROUND

In the underlying offense giving rise to this motion Mr, Kelley
pleaded guilty to 18 U.S.C. 922(a)(1)(A) unlawfully engaging in
the business of dealing firearms 09/03/2017 and 924(a)(1)(D) count 3
18 U.S.C. 922(d)(1) and 924(a)(2) selling a firearm to a convicted
felon, date of Imposition of judgment July 18, 2018 Mr, Kelley
accepting his responsibly toward this charges.

Mr, Kelley is presently confined at USP Atlanta a medium-
security facility in Atlanta Georgia. Based, ~ is. in prison Mr, Kelley
faces a substantial risk of exposure and transmission of the COVID-19
from his weakened immune system further, faces a sever risk of death
shotld he contract the COVID-19 again (medical records with summary )

https: //www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-—

medical-conditions.html

ADMINISTRATIVE PROCESS
Pursuant to the First Step Act procedures, Mr, Kelley requested
a reduction in his sentence based on his chronic and severe health
conditions with the bureau of Prisons but this request
for compassionate release was also rejected BOP memorandum from
Warden William L. Woods, This memoraridum indicated that Mr,
Kelley had no further need to contact with the BOP regarding his

request as his request had been denied.

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ARGUMENT AND CITATION OF AUTHORITY

Mr, Kelley respectfully request this compassionate release
because he meets the First Step Act criteria. Mr, Kelley has suffered
through two occasions where he had contracted this virus twice from
his weaken immune system, and faces a risk that he could be facing
another.

In contrast to previous compassionate release procedures,
the First Step Act permits District Courts to grant compassionate
releases for prisoners without first hearing a motion from the Bureau
of Prisons for resentencing. 18 U.S.C. 3582(c)(1)(A)(i) Instead,
the District Court may re-sentence prisoners to time served under
18 U.S.C. 3582 for extraordinary and compelling reasons, so long
as those reasons are consistent with applicablé with policy statements
issued by the Sentencing Commission. 18 U.S.C. 3553(a). These
reasons include medical emergencies, family concerns,or a variety
of other concerns. U.S.S.G. 1B1.13 application note 1(A)

The First Step Act provides the sentencing court jurisdiction
to consider a defendant*s motion for reduction or modification
of a sentence when the defendant has fully exhausted all administra-
tive remedies or the lapse of 30days from the receipt of such a
request by the Warden of the defendants facility,whichever is earlier.

This court has general authority over sentencing considerations
outlined in the First Step Act and Federal Sentencing guidelines .
therefore, the grave immediacy of Mr, Kelley's need for relief
to avoid contracting COVID-19 is sufficient for the court to enter

relief now that Mr, Kelléy has exhausted his administrative remedies.

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The First Step Act(FSA) permits reduction to time served with
balance served in supervised home release when “extraordinary

and compelling reasons exist.

The FSA's compassionate release provision grants the sentencing
court the power to reduce a prisoner's sentence when "extraordinary
and compelling reasons warrant a reduction." The statute reads‘in
pertinent part:

(A)... the court, upon motion of the Director of Bureau of
prisons or motion of the defendant has fully exhausted all administrative
rights to appeal a failure of the Bureau of Prisons to bring a motion
on the defendants behalf or the lapse of 30 days from the receipt of
such a request by the Warden of the defendants facility, whichever
is earlier...if it finds that-- (i)extraordinary and compelling
reasons warrant such a reduction...

18 U.S.C.3582(C)(1)(AJ)(i) The court has such power whenever the
Director of the Bureau of Prisons makes the motion, denies a defendants
request, or "the lapse of 30 days from the receipt of[a] request

by the Warden of the defendants facility....

(i) - Mr, Kelley has exhausted his administrative remedies.

As stated above, Mr, Kelley has pursued and exhausted his
administrative remedies as shown by his correspondénce with the BOP
and its subsequent response, denying him relief. Therefore, the
threshold issue of exhaustion required by 18 U.S.c. 3582(c)(1)(A)

has been met. Correspondence to and from Warden Woods.

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{ ii PA réduction 6f sentence to home confinement is warranted
in this case because Of‘*the extraordinary and compelling reasons

related to Mr, Kelley's risk of exposure and death from COVID-19

Although’ Congress did not define what constitute an extraordinary
and compelling reason warranting a reduction of a sentence under
3582(c) the legislative history confirms that this Language to
grant federal sentencing courts broad discretion to make those
determinations on a case-by-case basis and to reduce fundamentally
unfair sentences where such reasons exist. Following the First Step
Act's passage, courts have held that the district courts are vested
with discretion to find “extraordinary and compelling reasons {
for a reduction in sentence that go beyond the technical requirements
outlined in BOP regulations and using U.S.S.G. 1Bl.13, application
note 1 (setting forth such "extraordinary and compelling reasons"
as a prisoner. While the old policy statement provides helpful
Guidance, does not -* constrain the court's independent assessment
of whether extraordinary and compelling reasons that warrant a
sentence reduction under 3582(c)(1)(A) (i)

Congress expressly delegated these considerations to the
District Court through several acts affecting the role of parole
offices and the District Courts in post-sentencing reviews. As
a”-precursor to the First Step Act, Congress;s initial goal in passing
the Comprehensive Crime Control Act was to abolish federal parole
and create a "completely restructured guidélines sentencing system.
With the elimination of parole as a corrective measure in cases

where early release is warranted, Congress recognized the need“for

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an alternative review process. Therefore, it allowed for judicial
reduction of certain sentences under 3582(c)

The Committee believes that there may be unusal cases in
which an eventual reduction in the length of a term of imprisonment
is justified by changed circumstances. These would include cases
of severe illness, cases in which other extraordinary and compelling
circumstances justify a reduction of an unusually long sentence,
and some cases in which the sentencing guidélines for the offense
of which the defendant was convicted have been later amended to
provide a shorter term of imprisonment.

The situations listed in 3582(c) were thus intended to serve
as "safety valves for modification of sentences" enabling sentence
reductions like the one requested here when justified by factors
that previously could have been addressed through the (now abd1lishéd)
parole system. This approach was intended to keep "the sentencing
power in the judiciary where it belongs" rather than with a federal
parole board, and permitted "later review of sentences in particularly
compelling situations. Notably, Congress imposed no limitations
on courts attthority to make such determinations, declining to define
what constitutes extraordinary and compelling reasons or otherwise
constraining judges discretion. The mandate was Simple: if extra-
ordinary and compelling circumstances were present, they would "Justify
a reduction.

Since the beginning of the year, COVID-19 has spread throughout
the United States, infecting thousands and inflicting many with

severe respiratory illness and even causing many Americans to die.

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Mr, Kelley has took it upon himself to isolate himself in
his cell area away from the other inmate population, but these
measures are inadequate to account for the risk of death if he
were to contract the COVID-19 again, (third time) Mr, Kelley faces
a substantial risk that can be avoided by this court placing him
within the home in his release plan. proposes herein, under his
compassionate release procedures, the First Step Act permits a
District Court to grant a compassionate release for prisoners without

first hearing a motion from the Bureau of Prisons for resentencing

Defendant vatcepted his responsibility pursuant to rule. 11(e) (1) (A)

Federal Rules of Criminal Procedures, with regard to determining
defendants criminal history, points and criminal history based

on facts known to the government at his sentencing,defendants criminal
history points equaled zero and was in category I (one) The relevant
facts and case law being “7 directs this court to consider Mr,Kelleys
medical needs éonéuxrence with the above calculations that Mr, Kelley
is not a career offender which facts known that this offence is

his first time ever beening charged and this court should have
knowledge the nature. This court will conclude that Mr, Kelley

is not any danger to the safety of any other person[s] or the
community that is consistent with the First Step Act. December 21, 2018
Pub. L. No.115-391,132 Stat. 5194 Relief under 3582(c)(1)(A)

In the wake of the First Step Act.

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On March 11 2020, the World Health Organization described
the age and older and those with pre-existing comorbidities.

Jurisdictiéns-around the country have begun releasing prisoners
susceptible to COVID-19 exposure with an appreciation to practice
social distancing or isolation in a~jail setting and that the pandemic
will be devastating when it reaches prison populations. On Marchl18
2020 In United States Vs, Stephens, 15-cr-95(AJN)(S.D.N.Y Mar.18 2020)
Judge Alison J.Nathan granted the defendant;s emergency motion
for reconsideration of denial of bail and orderéd the defendant
released with conditions. Judge Nathan noted that, since the initial
hearing, “the unprecedented and extraordinarily dangerous nature of
the COVID-19 pandemic has become apparent" and that while there is
not yet a known outbreak among the jail and prisons populations
Inmates may be at a heightened risk of contracting COVID-19 should

an outbreak “devélop. citing Joseph A. Bick, Infection control in

Jails and prisons, 45 Clinical Infectious Diseases 1047,(Oct, 2))&) 7-2-

Nathan noted that [t]he magnitude of this risk has grown exponentially
Since the prior hearing, before this court: at the end of the day

on March 6, New York State had 44 confirmed cases of COVID-19,

but that by the end of the day on March 18. that number had climbed
to 2,382. In her order, Judge Nathan also cited a recent bail deter-
minatton in the Eastern District of New York, United States Vs,
Raihan, 20-cr-68 (BMC)(E.D.N.Y. march 12,2020) where judge Brian M.
Cogan order a defendant released on bail in part because [t]he more

people we crowd into [the MCC] the more-we're~increasing the risk

to the community.

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As of October 27,2020, over 43 million people Worldwide have
been infected with COVID-19 leading to over 1,161,311 deaths. The
CDC has issued guidance for COVID-19 in jails and prisons, including
wearing masks, social distancing, and other measures that are virtually
impossible to practice in a correctional setting. As of today in
the United States there are over 500,000.000 people that have died
frém this deadly virus. Conditions of confinement create the ideal
environment for the transmission of this contagious disease. Inmates
cycle in and ott of facilities from all over the country and people
who work in the facilities leave and return daily. "Incarcerated/
detained persons live, work, eat, study, and recreate congregate
environments, heightening the potential for COVID-19 to spread
once introduced. THe CDC recognizes the difficulty of preventing
the introduction of COVID-19 into detention facilities.
There are many opportunities for COVID-19 to be introduced into
a correctional or detention facility, including daily staff ingress:
transfer of incarcerated/detained persons between facilities and
many ce ~ covsystems;~to-court~dppearancés; and to*ottside medicdt-visits, and-
visits from family, legal representatives and other community
members. Some settings particularly jails and detention centers,
have high turn over, admitting new entrants daily ‘who may have
been exposed to COVID-19 in the surrounding community~or other regions.
Crowding, inadequate ventilation, and security issues all contribute
to the spread of infectious diseases in jails and prisons. Hand
Sanitizer an effective disinfectant recommended by the CDC to reduce
transmission rates is contraband in jails and prisons because of
its alcbhdl content, Additionally, incarcerated people tend to be
in poorer~health than the general-~population. According to public
health experts, incarcerated individuals "are at special risk of
infection" given their living situations and may also be less able
to participate in proactive measures to keep themsé@t¥es safe, infection
control is challenging in these settings, Outbreaks of the flu regularly

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occur in jails and during the H1N1 epidemic in 2009 many jails and
prisons dealt with high ntmbers of cases.

As a result of the threat-COVIB-19 poses to inmates in the
United States, [j]ails in California New York, Ohio, Texas and at
least a dozen other states are sending....elderly or sickly inmates
home early to prevent a coronavirus outbreak incrowded jails and
prisons, In March, Attorney General William Barr directed the Director
of the Bureau of prisons to prioritize the use of your various statutory
authorities to graht home confinement for inmates seeking transfer
in connection with the ongoing COVID-19 pandemic....

In addition to guidance regarding prisons the CDC has issued
guidance that individuals at higher risk of contracting COVID-19
saapile with chronic medical conditions , take immedtaté--- actions
including avoiding crowded areas and staying home as much as possible.

In sum,Mr,KelleyY stands with the fear of contracting this virus
again with significant medical issues from the prior COVID-19 that
is the issue for this court to consider, squarely within his confined
area at this facility.

(iii) A reduction in sentence is warranted considering

the other sentencing factors
In determining whether Mr, Ketley's sentence shottd be reduced,
this court must decide, inter alia, whether~-Mr, Kelley presents
a danger to the safety of any other person or to the community,
as provided in 18 U.S.C.3142(g) and U.S.S.G. 1B1.13(2) If he does
not, the court should then look to the factors outlined in 18 U.S.C.

3553(a) All these factors weigh strongly in favor of release in this

case.

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Although Mr, Kelley was charged with 18 U.S.C. 922(a)(1)(A)
and 924 (a)(1)(D) Unlawfully Engaging in the Business of Dealing
Firearms, Mr, Kelley does not present any danger to any person
or the community based on the PSI report and also this court has
in front of him personal letters from family and community people
that he is a~minimal for any serious danger toward the community.
The punishment he has recéivéd is sufficient to deter any further
incarceration is not needed, the punishment he has received is sufficient
to deter any future misconddct+ and , , a release of a medically
compromised man during the peak of the global epidemic will not

encourage future criminals or encourage recidivism on his part.

The Exceptional Circumstances Presented by the COVID-19
Pandemic Have Led Courts Around the Country to take
Extraordinary Action

Both the 7th and many other District Courts have recognized
the deadly nature of COVID-19 and have taken measures to prevent
transmission of this deadly virus, restricting access to facilities
imposing requirements for entry into the facility, including the
wearing of masks, and suspending the requirement of fapér filings
"OF course" those emergency measures are taken out of concern for
the safety of the judiciary, public, and members of the Bar. But —-

they also reflect the need for protection for those the justice

system serves.

Decisions from Courts Throughout the United States reflect

the Sever Threat of Covid-19

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In addition to the seven Circuit (7th Cir.) courts around the
the country in recognition of the serious risk presented by the
COVID-19 pandemic, have granted compassionate release related to
COVID-19 and the threat*of underlying conditions such as heart disease
diabetes, pulmonary disease, and other co-morbidities, United States
Vs, Asher No: 1:09-CR-414-MHC-1 Doc 184 at 2 (N.D. Ga, June 15 2020)
(chronic heart disease, hypertension, United States Vs, Ullings
2020 WL 2394096, at 1 (N.D. Ga, May 12 2020) United States Vs, Burke
2020 WL 3000330 at *2 (D. Neb. June 4 2020) United States Vs, Gray
2020 WL 2932838 at *3 (D. Md. June 3 2020)coronary artery disease,
diabetes) United States Vs, Torres 2020 WL 2815003 at *11 (S.D.N.Y
June 1 2020) (history of stroke,diabetes, United States Vs, Somerville
2020 WL 2781585 at *6 (W.D. Pa. may 29 2020) (hypertension, chronic
bronchitis and asthma) United States Vs, Bass 2020 WL 2831851 at *7
(N.D.N.Y. May 27 2020)(stroke) United States Vs, Lewellen 2020 WL
2615762 at *4(N.D.ILL. May 22 2020) United States Vs, White 2020 ” “ees
WL 2557077 at *1 (E.D. May 20 2020) United States Vs, Copeland 2020
WL 2537250 at *2 (E.D,N.Y. May 19 2020)thypertension, hyperlipidemia
risk of stroke, and age) United States Vs, Johnson Wl 3041923 *10
(D.D.C. May18 2020) United States vs, Anderson 2020 WL 2521513 at *
*5(C.D.ILL.May 18 2020} United States Vs, Foreman 2020 WL 2315908 at *2-4
(D. Conn. May 11 2020) United States Vs, Jenkins, 2020 WL 2466911
at *6-7 (D. Colo May 8 2020)(history of stroke, obesity) United States
Vs, Scparta No. 1:18-cr-00578-AJN-1 2020 WL 1910481 (S.D.N.Y. April
20 2020) United States Vs, Gileno No. 3:19-cr-161-(VAB)-1 2020
Wl 1904666 (D.Conn. April 17 2020) United States Vs, Joling No.6:15 oe

~cr-00113-AA-1 2020 WL 1903280(D.Or. April 17 2020

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(iii) Exceptional Circumstances Warrant Mr, Kelley's Release

This Court should release Mr, Kelley because "there are exceptional

reasons why his detention would not be appropriate. 18 U.S.C. 3145(c)
United States Vs, Roeder 807 Fed. Appx.157,159 (3rd. Cir.2020)

(reversing district court's denial of unopposed motion and extending
surrender date) Which Mr, Kelley's today has experience the COVID-19

twice and which he does not want to be the subject to this again.

CONCLUSION

With the passage of the First Step Act Congress emphasized
the imperative of reducing unnessary incarceration and avoid unduly
punitive sentences that do not serve the ends of justice.

United States Vs, Simons 2019 WL 170840 at *8 (E.D.N.Y April 22,2019)

Mr, Kelley ask this court to consider and with two exceptions.

Mr, Kelley submits to this court that (he) had made a mistake,

which, Mr, Kelley's Life has been suspended for his actions, Further
for this courts attention that Mr, Kelley had atcepted his responsi-
bility pursuant to Rule 11(c)(1)(A) number two

Mr,Kelley has a two year old daughter at home that needs his surport
and his comfort, ALSO, to relieve his futhre wife to be (read
personal letters) also will urge this court to depart with a time

served from the information that has been stated within his motion

for a compassionate release.
AA 4-5~2/

Klint Kelley Reg.No. 52091-424
U.S.P. Alanta

P.O. BOAx 150160

Atlanta, Ga, 30315

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EXHIBIT OYNVG

Medica \ b ecor ds
 

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PATIENT INFORMATION REPORT STATUS Final
KELLEY, KLINT
Nichols Institute, Chantilly ORDERING PHYSICIAN
DOB: 09/13/1989 Age: 30Y MITCHELL
SEX: M CLIENT INFORMATION
SPECIMEN INFORMATION 847
SPECIMEN: CH0643060 ID: 52091-424 FCI - POLLOCK - POM
REQUISITION: 0000686 PHONE: 318 7654400
LAB REF NO: 8470000686 1000 AIRBASE RD
POLLOCK, LA 71467
COLLECTED: 09/01/2020 00:00
RECEIVED: 09/02/2020 17:41
REPORTED: 09/03/2020 11:09
Test Name In Range Out of Range Reference Range Lab
SARS CoV 2 RNA(COVID 19), QL NAAT AMD

SARS CoV 2 RNA(COVID 19),
SARS CoV 2 RNA

KELLEY,KLINT - CH0643060

QL NAAT

Detected Not Detected

A Detected result is considered a positive test result
for COVID-19. This indicates that RNA from SARS-CoV-2

(formerly 2019-nCoV) was detected, and the patient is

infected with the virus and presumed to be contagious.
If requested by public health authority, specimen will
be sent for additional testing.

CRITICAL VALUE REPORT

Please review the "Fact Sheets" and FDA authorized
labeling available for health care providers and
patients using the following websites:
https://www.questdiagnostics.com/home/Covid-19/HCP/
NAAT/fact-sheet2.html
https://www.questdiagnostics.com/home/Covid-19/
Patients/NAAT/fact-sheet2.html

This test has been authorized by the FDA under an
Emergency Use Authorization (EUA) for use by authorized
laboratories.

Due to the current public health emergency, Quest
Diagnostics is receiving a high volume of samples from
a wide variety of swabs and media for COVID-19 testing.
In order to serve patients during this public health
crisis, samples from appropriate clinical sources are
being tested. Negative test results derived from
specimens received in non-commercially manufactured
viral collection and transport media, or in media and
sample collection kits not yet authorized by FDA for
COVID-19 testing should be cautiously evaluated and
the patient potentially subjected to extra precautions
such as additional clinical monitoring, including
collection of an additional specimen.

Methodology: Nucleic Acid Amplification Test (NAAT)
includes PCR or TMA

Additional information about COVID-19 can be found at

the Quest Diagnostics website:
www .QuestDiagnostics.com/Covid19

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Report Status: Final

 

 

Quest
(@ ) Siagnostics KELLEY, KLINT
Patient Information Specimen Information Client Information
Specimen: AL189525W Client #: 7009707 QATLAT06
ELLEY, KLINT
KELLEY, Requisition: 7010017 DR. MARTIN
DOB: 09/13/1989 AGE: 31 U S PENITENTIARY
Gender: M Collected: 10/21/2020 601 MCDONOUGH BLVD SE
Phone: 404.635.5100 Received: 10/22/2020 / 00:57 EDT ATLANTA, GA 30315-4400
Patient ID: 52091-424 Reported: 10/23/2020 / 06:48 EDT
Health ID: 8573025581465330

 

 

 

 

 

 

“A Detected result is considered a positive test ‘result for COVID-19. This indicates that RNA from SARS -Cov-2 (formerly 2 2019- nCoV) was >

 

“SARS CoV 2 RNA | DETECTED _NOT DETECTED | ) /

 

 

_ detected, and the patient is infected with the virus and presumed to be contagious. If requested by public health authority, specimen will be sent
: for additional testing.

Please review the "Fact Sheets" and FDA authorized labeling available for health care providers and patients using the following websites:

: https://www.questdiagnostics.com/home/Covid-19/HCP/NAAT/fact-sheet2 https:/www.questdiagnostics.com/home/Covid-19/Patients/NAAT/
‘ fact-sheet2

This test has been authorized by the FDA under an Emergency Use Authorization (EUA) for use by authorized laboratories.

‘ Due to the current public health emergency, Quest Diagnostics is receiving a high volume of samples from a wide variety of swabs and media
: for COVID-19 testing. In order to serve patients during this public health crisis, samples from appropriate clinical sources are being tested.

: Negative test results derived from specimens received in non-commercially manufactured viral collection and transport media, or in media and
- sample collection kits not yet authorized by FDA for COVID-19 testing should be cautiously evaluated and the patient potentially subjected to

‘ extra precautions such as additional clinical monitoring, including collection of an additional specimen.

* Methodology: Nucleic Acid Amplification Test (NAAT) includes RT-PCR or TMA
; Additional information about COVID- 19 can be found at the Quest Diagnostics website: www. /.QuestDiagnostics. com/Covid19.

| Physician Comments:

PERFORMING SITE:

AT QUEST DIAGNOSTICS-ATLANTA, 1777 MONTREAL CIRCLE, TUCKER, GA 30084-6802 Laboratory Director: ANDREW N YOUNG,MD,PHD, CLIA: 11D0255931

CLIENT SERVICES: 866.697.8378 SPECIMEN: AL189525W PAGE | OF I

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Bureau of Prisons
Health Services

Health Problems

 

Reg #: 52091-424 Inmate Name: KELLEY, KLINT

 

Des

  

Impacted cerumen
07/23/2018 13:12 EST Holt-Nicholson, T. APN/BC
right ear impaction
Constipation, unspecified
09/18/2020 14:31 EST Smith, J NP

Pain in unspecified joint
07/23/2018 12:59 EST Holt-Nicholson, T. APN/BC
chronic left shoulder pain
No Diagnosis
07/28/2020 14:28 EST Stephenson, D. Ph.D.

Coronavirus COVID-19 test negative
10/12/2020 13:30 EST Harris, T. RN/IOP/IDC
09/03/2020 17:03 EST Smith, J NP
08/24/2020 17:03 EST Mitchell, B. NP-C

Encounter for screening
01/29/2020 13:46 EST Smith, J NP

Cellulitis, unspecified
08/15/2019 11:06 EST Smith, J NP
Left arm
07/26/2019 13:33 EST Robinson, Letaya NP
Left arm
Confirmed case COVID-19
11/03/2020 13:12 EST Tesh, Ana NP
11/3/20 Meets criteria for discharge from isolation
11/03/2020 10:41 EST Harris, T. RN/IOP/IDC
09/14/2020 08:24 EST Mitchell, B. NP-C
09/03/2020 17:03 EST Smith, J NP

Generated 12/21/2020 11:38 by Woodward, S. HIT

Axis Code Type
Current

ICD-10

ICD-10

ICD-10

| DSM-IV

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Bureau of Prisons - ATL

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Diag, Date Status.

07/23/2018

09/18/2020

07/23/2018

07/28/2020

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08/24/2020
08/24/2020

01/29/2020

07/26/2019

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09/14/2020

Page 1 of 2
 

 

Reg #: 52091-424 Inmate Name: KELLEY, KLINT

 

 

 

Descri Axis Code Type Code Diag. Date Status Status Date
Quarantine - asymptomatic person in quarantine

11/03/2020 10:41 EST Harris, T. RN/IOP/DC : ICD-10 Z0489-q 10/05/2020 Resolved 11/03/2020

intake quarantine
10/12/2020 13:30 EST Harris, T. RN/IOP/IDC ICD-10 Z0489-q 10/05/2020 Current
intake quarantine : : :

09/03/2020 12:58 EST Mitchell, B. NP-C ICD-10 Z0489-q 09/02/2020 Current

08/24/2020 17:03 EST Mitchell, B. NP-C ICD-10 Z0489-q 08/18/2020 Current
Total: 9

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Generated 12/21/2020 11:38 by Woodward, S. HIT Bureau of Prisons - ATL Page 2 of 2

 
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EXHIBIT TWo

DP Denial

 
Case: 1:17-cr-00581 Document #: 75 Filed: 04/15/21 Page 21 of 61 PagelD #:453

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Case: 1:17-cr-00581 Document #: 75 Filed: 04/15/21 Page 22 of 61 PagelD #:454

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Case.1:17-cr-00581 Document #: 75 Filed: 04/15/21 Pana 23 of 61 PagelD #:455

Memorandum

FEDERAL BUREAU OF PRISONS
United States Penitentiary Atlanta
Atlanta, Georgia 30315

 

December 17 2020

MEMORANDUM FOR WILLIAM L. WOODS, WARDEN

FROM: K. Benson-Connor, Unit Manager /s/

SUBJECT: Klint Kelley Reg. No. 52091-424

After careful review of your request to be released to Home
Confinement/Furlough either under the CARES Act, (First Step Act) or due
to the COVID-19 pandemic, your request is denied due to one or more of
the following reason below. This will not negate you being reviewed for
the Second Change Act under Title 18 3621 (b) for RRC placement/Home
Confinement. While the policy is being update daily, we will automatically
review your through our Sentry roster for appropriate placement if
warranted. Multiple request to staff is not needed for consideration. A
copy of your request and a copy of this memo will be placed in your Central
File for your record.

° The security level of the facility currently holding the inmate,
with priority given to inmates residing in low and minimum security
facilities;

° The inmate’s conduct in prison, with inmates who have engaged in
violent or gang- related activity in prison or who have incurred a BOP
violation within the last year not receiving priority treatment under this
Memorandum;

° The inmate’s score under PATTERN, with inmates who have anything
above a minimum score not receiving priority treatment under this
Memorandum; :

° Whether the inmate has a demonstrated and verifiable re-entry plan
that will prevent recidivism and maximize public safety, including
verification that the conditions under which the inmate would be confined
upon release would present a lower risk of contracting COVID-19 than the
inmate would face in his or her BOP facility;

° The inmate’s crime of conviction, and assessment of the danger posed
by the inmate to the community. Some offenses, such as sex offenses, will
render an inmate ineligible for home detention. Other serious offenses
should weigh more heavily against consideration for home detention.

TED STATES GOVERNMENT
Ne \ Case: 1:17-cr-00581 Document #: 75 Filed: 04/15/21 Page 24 of 61 PagelD #:456

    

 

 

 

 

 

Individualized Needs Plan - Program Review (Inmate Copy) SEQUENCE: 02074871
Dept. of Justice / Federal Bureau of Prisons Team Date: 01-14-2021
Plan is for inmate: KELLEY, KLINT 52091-424
Facility: ATL ATLANTA USP Proj. Rel. Date: 06-18-2024
Name: KELLEY, KLINT Proj. Rel. Mthd: GCT REL
Register No.: 52091-424 DNA Status: CCC05891 / 09-07-2017
Age: 31
Date of Birth: 09-13-1989
Detainers
[Detaining Agency Remarks |
| NO DETAINER

Current Work Assignments

 

 

 

 

 

 

|Facl Assignment Description Start
ATL BDU ASB 1 BATTLE DRESS UNIFORM ASSMBLY 1 11-23-2020

Current Education Information

|Facl Assignment Description Start |
ATL ESL HAS ENGLISH PROFICIENT 10-01-2018

ATL GED HAS COMPLETED GED OR HS DIPLOMA 10-01-2018

Education Courses

SubFacl Action Description Start Stop

ATL c ACE MATH & SOLAR SYSTEM 01-06-2021 01-08-2021
POM c MONEY AND CONSUMERS 08-31-2020 09-04-2020
POM Cc CAR BUYING TIPS AND SKILLS 08-31-2020 09-04-2020
POM Cc CONSUMER SHU PRE-RELEASE 08-31-2020 09-04-2020
POM c RPP 6: ANGER MANAGEMENT SHU 08-31-2020 09-04-2020
POM CG PLAYBOOK FOR LIFE 08-10-2020 08-14-2020
POM c FINANCIAL PLAN SHU PRE-RELEASE 08-10-2020 08-14-2020
POM Cc EMERGENCY SERVICES LANGUAGE 07-12-2020 07-17-2020
POM Cc GOVERNMENT LANGUAGE 07-12-2020 07-17-2020
POM c ADVERTISING 07-12-2020 07-17-2020
POM Cc SHU- COMMON FASTENERS 07-06-2020 07-10-2020
POM c READING COMPREHENSION 07-06-2020 07-10-2020
POM c WRITING BOOK REPORTS 07-06-2020 07-10-2020
POM c CAREER PLANNING SHU PRE-REL 07-06-2020 07-10-2020
POM c SHU-SMALL ENGINE 05-25-2020 05-29-2020
POM Cc MEDICAL LANGUAGE 05-25-2020 05-29-2020
POM c TRANSPORTATION LANGUAGE 05-25-2020 05-29-2020
POM Cc COMMER.DRIVERS LIC/SHU PART 2 05-25-2020 05-29-2020
POM c COMMER.DRIVERS LIC/SHU PART 1 05-25-2020 05-29-2020
POM c MORE FOR YOUR MONEY 05-11-2020 05-15-2020
POM c JOB SKILL SHU PRE-RELEASE 05-11-2020 05-15-2020
POM Cc BUDGETING SHU PRE-RELEASE 04-20-2020 04-24-2020
POM Cc RPP 3: CHECKING/SAVING/ATM SHU 04-20-2020 04-24-2020
POM c PERSONAL HEALTH 03-30-2020 04-03-2020
POM Cc HOUSING OPTIONS 03-30-2020 04-03-2020
POM c MASTER YOUR MONEY 03-16-2020 03-20-2020
POM c CREDIT AND LOANS SHU PRE-REL 03-16-2020 03-20-2020
POM Cc LIVING SOBER 04-08-2019 10-01-2019
POM fe} COMMERCIAL DRIVES LICENSE/ACE 07-20-2019 09-14-2019
POM C RPP 6: IN/OUT DAD-PARENTING 02-12-2019 04-16-2019
POM Cc VT SEWING AM 11-13-2018 02-20-2019
POM Cc BOP BASICS 101: ORIENTATION 11-15-2018 12-26-2018
POM Cc FOOD PRINCIPLES & PREPARATION 10-31-2018 12-26-2018
POM Cc NATURE'S ASSASSINS 11-07-2018 12-05-2018
POM c MARVELS IN SPACE 11-06-2018 12-17-2018
POM c HOW TO USE LEISURE TIME-RPP6 09-27-2018 09-27-2018

Discipline History (Last 6 months)
Sentry Data as of 01-14-2021 Individualized Needs Plan - Program Review (Inmate Copy) Page 1 of 3
I i I ili fi <I
Case: 1:17-cr-00581 Document #: 75 Filed: 04/15/21 Page 25 of 61 PagelD #:457

 

 

 

Individualized Needs Plan - Program Review (Inmate Copy) SEQUENCE: 02074871
Dept. of Justice / Federal Bureau of Prisons Team Date: 01-14-2021
Plan is for inmate: KELLEY, KLINT 52091-424
[Hearing Date Prohibited Acts

 

** NO INCIDENT REPORTS FOUND IN LAST 6 MONTHS **

Current Care Assignments

 

 

 

 

 

 

 

 

 

 

(Assignment Description Start

CARE1 HEALTHY OR SIMPLE CHRONIC CARE 11-16-2018

CARE1-MH CARE1-MENTAL HEALTH 10-04-2018

Current Medical Duty Status Assignments

[Assignment Description Start

C19-RCVRD COVID-19 RECOVERED 11-03-2020

NO PAPER NO PAPER MEDICAL RECORD 09-27-2018

REG DUTY NO MEDICAL RESTR--REGULAR DUTY 06-30-2018

YES F/S CLEARED FOR FOOD SERVICE 09-27-2018

Current Drug Assignments

Assignment Description Start

DAP UNQUAL RESIDENT DRUG TRMT UNQUALIFIED 05-13-2019

ED NONE DRUG EDUCATION NONE 10-04-2018

NR COMP NRES DRUG TMT/COMPLETE 10-01-2019

FRP Details

Most Recent Payment Plan |
FRP Assignment: COMPLT FINANC RESP-COMPLETED Start: 05-15-2019
Inmate Decision: AGREED 50% Frequency: MONTHLY
Payments past 6 months: $0.00 Obligation Balance: $0.00

Financial Obligations

[No. Type Amount Balance Payable Status

1 ASSMT $200.00 $0.00 IMMEDIATE COMPLETEDZ

** NO ADJUSTMENTS MADE IN LAST 6 MONTHS **
Payment Details
Trust Fund Deposits - Past 6 months: $N/A Payments commensurate ? N/A
New Payment Plan: ** No data **

 

 

Progress since last review

 

Inmate Kelley arrived to USP Atlanta via 323 close supervision transfer from FCI Forrest City. Since his arrival inmate has remain clear of disciplinary
infractions and is seeking a work assignment. Completed ACE Math and Solar System, Working in UNICOR

Next Program Review Goals

 

 

Inmate completed ACE Math and Solar system 10 hour course and began employment with UNICOR. Unit Team recommends inmate enroll in Money
Management class by November 2020 and complete by the next review in June 2021.

Long Term Goals

 

 

Unit Team recommends inmate Kelley enroll in Property Management by December 2020 and complete by the next review in May 2021. Due to COVID
19 inmate may not be able to enroll/complete by the deadline

RRC/HC Placement

No.

Management decision - Assessment for RRC placement in accordance with the Second Chance Act will be conducted when you are within 17-19
months of your PRD..

Comments

 

 

 

 

Assessment for RRC placement in accordance with the Second Chance Act will be conducted when you are 17-19 months from PRD. Outside of
referral time frame for RRC Placement, will refer nearer to your PRD.

 

 

 

Sentry Data as of 01-14-2021 Individualized Needs Plan - Program Review (Inmate Copy) Page 2 of 3

 
 

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Case: 1:17-cr-00581 Document #: 75 Filed: 04/15/21 Page 27 of 61 PagelD #:459

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Khyt Helley © 520-424,

 
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Case: 1:17-cr-00581 Document #: 75 Filed: 04/15/21 Page 28 of 61 PagelD #:460

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Case: 1:17-cr-00581 Document #: 75 Filed: 04/15/21 Page 29 of 61 PageID #:461
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) numbers beceming LL daily. The BOP. is pot Taking into
Consideration The inmates have nowhere to Wide and are himibed
to the PPE. Nece soary. L have heen doing all £ can to Preven

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Case: 1:17-cr-00581 Document #: 75 Filed: 04/15/21 Page 30 of 61 PagelD #:462

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have Contracted the vires twice, once at my previovs Facility
ond again in Atlanta. Both timesz feel have been dlve fo poor efforts
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gleves and other precautions ie le implementedk ThrevghedT this fenckemic
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into the unit Lam hevsed mm. These $0 inmates could (035/bly have
been infected with Covid, They were net tested prior to moving
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(after iokeracting Lin wan y mmates.and other staff, Proper
Seceenivg oma Test ave net being applica +o staff to ensure
Thea alot ntrodve € the vires te the jnstitotiovs.

 
EXHIBIT Three

| ethers of Svppo(t
fF com Family and Friends
Case: 1:17-cr-00581 Document #: 75 Filed: 04/15/21 Page 32 of 61 PagelD #:464

 

To whom it may concern,

My name is Matthew Jennings I have known Mr. Klint Kelley for
going on eleven years now I would like to acknowledge that when the
time comes that klint gets out of prison that I will do everything
within my means to offer him assistance including but not limited to
helping him find a job helping with transportation to and from work
and if needed a place to stay until he gets back on his feet in the years
I have known klint I have know him to be an honest man with
outstanding character and a man that holds integrity to the highest
standards I have been a recipient of klints graciousness and I can say
without a doubt that he is one of the most generous and helpful men I
have come across the reality of being human is we are destined to
make mistakes from the time we are born we are set up for failure we
live our lives in constant stress and sometimes overwhelming
pressure if klint is truly guilty of the charges that were brought
against him I know in my heart that it was a mistake or moment of
bad judgement brought on by stress and hardships not an outright
willingness to do wrong I am glad to be able to call klint a brother
and I pray that this letter may shed some light on the man that he
truly is

Sincerely,

Matthew Jennings
Matthew Jennings
12/29/2020
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Case: 1:17-cr-00581 Document #: 75 Filed: 04/15/21 Page 33 of 61 PagelD #:465
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Case: 1:17-cr-00581 Document #: 75 Filed: 04/15/21 Page 36 of 61 PagelD #:468

 

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Case: 1:17-cr-00581 Document #: 75 Filed: 04/15/21 Page 37 of 61 PagelD #:469

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Case: 1:17-cr-00581 Document #: 75 Filed: 04/15/21 Page 39 of 61 PagelD #:471

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Case: 1:17-cr-00581 Document #: 75 Filed: 04/15/21 Page 40 of 61 PagelD #:472

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Case: 1:17-cr-00581 Document #: 75 Filed: 04/15/21 Page 43 of 61 PagelD #:475

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EXHIBIT Fou

Vet sonal Certificates
 

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Angh Mchonals CRN
Career Education and Workforce
Bebelopment Board

Charisse Childers, 2h B.
Birector, Arkansas Department of Career Education

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Cvcntificate of
COMPLETION

FCI
Pollock, Louisiana

Klint Kelley
REG#52091-424

successfully completed
all Turning Point Modules
April 20, 2020

f. &—

D. Stephenson, Ph. D.
Staff Psychologist

 

    

Case, Di7-cr-0058T£

 

 

 
THIS CERTIFICATE IS AWARDED TO

Za

KLINT KELLEY 52091- 424

 

FOR THE SUCCESSFUL COMPLETION OF THE

V.T. SEWING CLASS ON 02/20/2019

 

 

 

OM Cope. A Tuesday, February 26, 2019
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Awarded by Date

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IKKLINT KELLEY 52091- 424

  
 

 

  

FOR THE SUCCESSFUL COMPLETION OF THE

 

V.T. SEWING CLASS ON 02/20/2019

      
  

 

Tuesday, February 26, 2019

 

 

Case: 1:17-cr-00581 Document #: 75 Filed: 04/15/21 Page 48 of 61 PagelD #:480

 
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Case: 1:17-cr-00581 Document #: 75 Filed: 04/15/21 Page 51 of 61 PagelD #:483

 

 

C artificate of Complet ion

Kelley, Klint
Reg#: 52091~-424

has successfully completed the
Non-Residential Drug Abuse Program

4 6 October 1, 2019
C. Jackson, DTS DATE

 

 

 

 
Case: 1:17-cr-00581 Document #: 75 Filed: 04/15/21 Page 52 of 61 PagelD #:484

 

 

 

ortificate of Comp

FCI
Pollock, Louisiana

Klint Kelley
REG# 52091-424

has successfully completed
Basic Cognitive Skills Group
August 21, 2019

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D. Stephenson, Ph. D.
Staff Psychologist

YS

 

 

 

 
 

Case: 1:17-cr-00581 Document #: 75 Filed: 04/15/21 Page 53 of 61 PagelD #:485

 

 

 

 

Certificate of Completion

Is presented to

Klint Kelley

In recognition for the successful completion of

Commercial Drivers’ License

An Adult Continuing Education Course at FCI Pollock

September 14, 2019

 

 

 

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L. Burnett, RPP Coordinator C. Rachal, ASOE

 

 

 

 

 

 

 

 

 
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Beginner Spin Class

Awarded To

Filly #52097-424

FCI Pollock Recreation

 
ertificate of Completig n

Presented To

Klint Kelley

In recognition for the successful completion of

Food Principles & Preparation

An Adult Continuing Education Program at FCI Pollock
December 26, 2018

L. Burnett, RPP Coordinator

 
tificate of Completio,,

Presented To

Klint Kelley

In recognition for the successful completion of

BOP Basics 101

A Release Preparation Program at FCI Pollock
December 26, 2018

C. Rachal, ASOE

 
   

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Presented To

Klint Kelley

In recognition for the successful completion of

Nature Assassins

An Adult Continuing Education Program at FCI Pollock
December 5 2018

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ea L. Burnett, RPP Coordinator C. Rachal, ASOE

  
        

certificate of Complet

Presented To

Klint Kelley

In recognition for the successful completion of

Marvels of Space

An Adult Continuing Education Program at FCI Pollock
December 17 2018

 

 

C. Rachal, ASOE

 
 

Case: 1:17-cr-00581 Document #: 75 Filed: 04/15/21 Page 59 of 61 PagelD #:491

February 1, 2021

To Whom It May Concern:

I am writing this correspondence together with my wife Dale on

behalf of our nephew, Prisoner Klint Keny 52091-424 presently
incarcerated in Atlanta, GA. Keucey

We believe that Klint is basically a good person and he has
served almost four years of his sentence. His wife was pregnant at
the time of his incarceration and he his not seen his daughter in
over a year due to the lockdown.

We are asking for your compassion and release of Klint Kelley
due to the covid virus and other factors. We do not believe that he
is safe living in prison. We believe our nephew is a person of good
character who made some bad decisions that led up to his
imprisonment. We also pledge to support him in any way we are
able to insure his return to productive society.

Sincerely,

Ps Wake Word

Dale & Ed Ward
 

Case: 1:17-cr-00581 Document #: 75 Filed: 04/15/21 Page 60 of 61 PagelD #:492

 

 

aoe Ol | Klint Kelley Reg. No. 52091-424

U.S.P. Atlanta
P.O. Box 150160 \
Atlanta Ga.

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L 5 wr Everett McKinley Dirksen
United States Courthouse
20 th. Floor

Chicago IL. 60604

 

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USP ATLANTA

601 MCDONOUGH BLVD. SE
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